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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          MC19-00083-CAS(Ex)                                                  Date   July 8, 2019
 Title             IN RE SUBPOENA TO JOSEPH VAUGHN PERLING [IRA KLEIMAN; ET AL. v. CRAIG
                   WRIGHT]



 Present: The                    CHRISTINA A. SNYDER, UNITED STATES DISTRICT JUDGE
 Honorable
                    Catherine M. Jeang                                                Laura Elias
                        Deputy Clerk                                        Court Reporter / Recorder
                Attorneys Present for Plaintiffs:                      Attorneys Present for Defendants:
                         Maxwell Pritt                                                Not Present
 Proceedings:                 HEARING ON MOTION RELATED TO A SUBPOENA FROM ANOTHER
                              DISTRICT BY CLERK OF COURT (Filed 06/05/2019)[1]

      Hearing held and plaintiffs’ counsel is present. No appearance is made by the
defendant or subpoenaed party, nor on their behalf. The Court hereby grants plaintiffs’
motion and compels the Joseph Vaughn Perling to appear pursuant to the Subpoena. The
Court will issue plaintiffs’ Proposed Order forthwith.

        If Mr. Perling fails to appear, plaintiffs may seek a contempt order from this Court
by filing a motion on or before July 26, 2019, and noticing the hearing for August 12,
2019, at 10:00 A.M. The Court conditionally grants the shortening of time for plaintiffs
to file their motion. If the motion is filed, opposition shall be due on or before August 2,
2019, and the reply shall be due on or before August 7, 2019.




                                                                                               00      :      07

                                                               Initials of Preparer                  CMJ




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